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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                            Case No.: 23-cv-21040-BLOOM/Torres


 MARY DOE,

          Plaintiff,

 vs.

 CARNIVAL CORPORATION
 d/b/a CARNIVAL CRUISE LINE,
 and ONESPAWORLD (BAHAMAS)
 LTD.,

        Defendants,
 _________________________________/

    PLAINTIFF’S MOTION TO RESET CALENDAR CALL, AND TO MOVE TRIAL
   DOCKET PERIOD FORWARD ONE WEEK, OR IN THE ALTERNATIVE, EXCUSE
        PLAINTIFF FROM FIRST WEEK OF MAY 6, 2024 TRIAL DOCKET

          MARY DOE (“Plaintiff”), by and through her undersigned counsel, files Plaintiff’s

 Motion to Reset Calendar Call as follows:

       1. This matter involves the sexual assault of a then 17-year old minor, occurring

          March 4, 2023, aboard the Carnival Sunrise, by a Carnival crewmember who was

          a fitness instructor employed by OneSpaWorld.

       2. Plaintiff has suffered massive damages in this case including needing to be

          medicated and attend regular counseling.

       3. While Plaintiff is desperate to put this case behind her, given the recent Court

          Order involving scheduling [D.E. 77], Plaintiff has conflicts and needs the Court’s

          assistance.

       4. Earlier this afternoon this Court reset: calendar call for April 30, 2024 at

          1:45p.m.; and two-week trial calendar for May 6, 2024, at 9:00a.m.


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    5. Plaintiff’s counsel observes the Jewish holiday of Passover which is an eight (8)

        day holiday that begins at night on April 22, 2024, and ends in the evening of

        April 30, 2024. As part of his religious observance, Plaintiff’s counsel does not

        work on the first two (2) days of Passover and on the last two (2) days of Passover.

        The new calendar call date is during the eighth day of Passover.              Plaintiff

        respectfully requests it be moved to another date. Plaintiff respectfully suggests

        the following as possible options: April 25th, April 26th, May 1st, and May 2nd.

    6. Moreover, Plaintiff’s counsel is scheduled to be in Gainesville, Florida from May

        5, 2024 through May 7, 2024 in celebration of his son’s graduation from college.

        The actual graduation falls out on May 6, 2024.

    7. Additionally, Plaintiff herself, in her freshmen year at a university out of state,

        has final examinations during the week leading up to trial and during the first

        week of the trial period. The final examination period in her school ends on May

        7, 2024.

    8. Plaintiff respectfully requests the Court move the two-week trial calendar forward

        one week, so the two-week trial period commences on May 13, 2024. In the

        alternative, Plaintiff respectfully requests this Court excuse Plaintiff and

        Plaintiff’s counsel from the first week of the current two-week trial period, and

        leave this case on for trial for May 13, 2024.

    9. At the risk of providing too much input, Plaintiff’s counsel respectfully requests

        that if the Court moves the calendar call to April 25th or April 26th, the Court

        move the pre-trial stipulation deadline to April 17th or April 18th.

    10. Plaintiff's counsel reached out to Defendants’ counsel earlier today at 3:01p.m.,

        asked for Defendants’ position on this Motion, and stated Plaintiff planned on

        filing this Motion today, because Plaintiff wanted the Court to be aware of the

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        conflicts as soon as possible.

    11. Defendants’ counsel indicated that it was a lot to digest and conversations would

        have to be had with Mr. Mase and Carnival and that they could get back to

        Plaintiff “possibly early next week.”

    12. Plaintiff’s counsel confirmed that he would file the Motion today.

    13. If Plaintiff should have waited to file this Motion, Plaintiff apologizes.

    14. Plaintiff appreciates the time it takes for the Court to schedule events and

        apologizes for the inconvenience caused by the filing of this Motion. Plaintiff

        wanted the Court to know as soon as possible that the week of May 6, 2024 is

        problematic for Plaintiff and her counsel and should potentially be made available

        to other parties that need this Court’s time.

    15. Plaintiff also wanted the Court to know as soon as possible that April 30th is a

        significant conflict for Plaintiff’s counsel for Calendar Call.



    WHEREFORE, for each of the foregoing reasons, Plaintiff respectfully requests that

 the Court resets calendar call, and move the two-week trial period forward one week to

 commence on May 13, 2024, or in the alternative, leave the trial period as is, but excuse

 Plaintiff’s from appearing the week of May 6, 2024.




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             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

        Undersigned counsel certifies that counsel for the Plaintiff has conferred in a

 good faith effort to resolve the issues raised in the motion, Defendants are not

 prepared at this time to provide their position, and Plaintiff determined that it was

 important to file this Motion as soon as possible to avoid further disruption for the

 Court’s calendar.

                                            Respectfully Submitted,

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                                            By: s/ Daniel W. Courtney
                                            Daniel W. Courtney, Esq.
                                            Florida Bar No.: 499781




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                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on February 2, 2024, I electronically filed the foregoing

 document with the Clerk of Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified

 on the below Service List in the manner specified, either via transmission of Notices of

 Electronic Filing generate by CM/ECF or in some other authorized manner for those

 counsel or parties who are not authorized to receive electronically Notices of Electronic

 Filing.



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